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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        PANAMA CITY DIVISION

LINDA CHASE,

      Plaintiff,

v.                                             Case No. 5:22-cv-102-TKW-MAF

LOUIS DEJOY, et al.,

      Defendants.
                                           /

                                     ORDER

      This case is before the Court based on the magistrate judge’s Report and

Recommendation (Doc. 46). No objections were filed.

      Upon due consideration of the Report and Recommendation and the case file,

the Court agrees with the magistrate judge’s determination that the claims against

Defendants Garland and Coody should be dismissed for failure to state a claim

because they are not her employers and that the claims against Defendant DeJoy

should be dismissed for lack of service. Accordingly, it is ORDERED that:

      1.    The magistrate judge’s Report and Recommendation is adopted and

incorporated by reference in this Order.

      2.    Defendants Garland and Coody’s motion to dismiss (Doc. 40) is

GRANTED, and the claims against them are DISMISSED with prejudice.
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       3.        The claims against Defendant DeJoy are DISMISSED without

prejudice under Fed. R. Civ. P. 4(m) for lack of service.

       4.        The Clerk shall enter judgment in accordance with this Order and close

the case file.

       DONE and ORDERED this 7th day of April, 2023.




                                          __________________________________
                                          T. KENT WETHERELL, II
                                          UNITED STATES DISTRICT JUDGE




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